                                                Case 2:18-cv-04907-JHS Document 1 Filed 11/13/18 Page 1 of 12

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        provided by local rules ofcourt fli'1s form, approved by the Jud1c1 Conference of the Umted States m September 1974, 1s requ1Ted for the use of the Clerk of Court for the
        purpose of m1t1atmg the CIVll docket sheet (SI!,£ INST'RUCTJONSON NEXT PAGE OF THIS fOKM)

        I. (a) PLAINTIFFS                                                                                                                                           DEFE!'iDA!'iTS
        OWEN HARTY                                                                                                                                                 DI NAVEL AMERICA,                                     LLC and BARCLAY LAND. LP


             (b)                                                                                                                                                    County of Residence of F1rst Listed Defendant
                                                                                                                                                                                                                        ([NC; S. PlAJ1'7TfFCASES OMY)
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             (C)      Attorneys (firm Name Address. and Telephone Num                                                                                                Attorneys ([j Known)
        John        F  Ward. Esquire. THOMAS B BACON.
        329 S Devon Ave.                      Wayne. PA                        19087
        (610) 952-0219

        II. BASIS OF Jt;RISD                                      Tl N f?lacean x                  mOneBoxOniyJ                             Ill. CITIZENSHIP OF PRINCIPAL PARTIES!Piacean x                                                                             mOneBoxforPla,nttff
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        VI. CAUSE OF ACTION                                              Bnef descnpt1on of cause
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        VII. REQUESTED IN                                                :J    CHECK If THIS IS A CLASS ACTION                                          DEMAND$                                                                       CHECK YES only 1f demanded incomptt
                   COMPLAI~T:                                                  UNDER RUE 23, FR Cv P                                                         0 00                                                                     JLRY DEMAND:         '"'J Yes ~N

        VIII. RELATED CASE(S)
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              IF A~Y                                                                                         Jl 'DGE                                                                                                     DOCK.bf Nt'MBf,R
        DATE
        11/09/2018
        FOR OFFICE USE ONLY

           Rf.CflPT #                               AMOUNT                                                                                                                              Jl,1)(1£
                           Case 2:18-cv-04907-JHS Document 1 Filed 11/13/18 Page 2 of 12
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                                        .,. '\ FOR THE EASTER"' DISTRICT OF PE~SSYLVA'.'IIA                                      18                   4907
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Address of Plaintiff _ _ _ _ _ _ _
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                                                  .tazntzjf to indicate the category of the case for the purpose of assignment to the appropriate calendar)

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Address of Defendant:           clo_ ~on_tin~n~l_p~v~l~~rs_LLC _1~<2_4_~aln~t S!_- ~th ~o~rYhil~delph~~· P~ ~1 <2_3_
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RELATED CASE, IF ANY:
Case Number __ _ _ _ _ _ _ _ _ _ _                  _ _      Judge _       _ _ _      _ __ _                             Date Terminated      -   -     -      -

C1v1J cases are deemed related when Yes ts answered to any of the followmg questlon5

      ls thts case related to property mcluded in an earlier numbered suit pending or within one year                       YesD                  No[Z]
      previously tennmated action in this court')

2     Does this case involve the same issue of fact or grow out of the same transaction as a pnor suit                      YesD                     No[{]
      pending or within one year previously terminated act10n in this court')

3     Does thts case involve the valtd1ty or infringement of a patent already in suit or any earlier                        YesD                     No[{]
      numbered case pending or within one year previously termmated action ofthts court')

4     ls this case a second or successive habeas corpus, social secunty appeal, or pro se c1v1l nghts                       YesD                     No[{]
      case filed by the same individual')

I certify that, to my knowledge, the within case                             related to any case now pending or within one year previously terminated action in
this court except as noted above.

DATE
          11/09/2018                                                                                                                         81350
                                                                                                                                       Attorney I[) #(if appltcable)


CI"1L: (Place a " in one category only)

A.           Federal Question Cases·                                                    B.    Diversity Jurisdiction Cases.·

01           Jndemmty Contract, Marine Contract, and All Other Contracts                01             Insurance Contract and Other Contracts
D     2      Fl.LA                                                                      D     2        Airplane Personal lnJury
03         Jones Act-Personal Injury                                                    0     3        A~sault, Defamation
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           Antitrust                                                                          4.       Manne Personal Injury
           Patent                                                                       os             Motor Vehicle Personal Injury
           Labor-Management Relations                                                   0 6            Other Personal Injury (Please specify) _ _ _                _ __
           C1v1l Rights                                                                 0 7            Products Ltab1ltty
           Habeas Corpus                                                                0     8        Products Liab1hty - Asbestos
           Secunt1es Act(s) Cases                                                       D     9        All other D1vers1ty Cases
                                                                                                       (Please specify) _ _ _    _ __
           Social Secunty Review Cases
0      II. All other Federal Question Cases
             (Please specify) _ _ __ _ _ _



                                                                       ARBURA TION CERTIFICATION
                                               (The effect of this cert1ficat10n rs to remove the case from e/ig1b1ilty for arb1trat1on)


l,_ -
                      John F. Ward               _ _ ,counsel of record or pro se pla1nt1ff. do hereby certify

             Pursuant to Local C!Vll Rule 53 .2, § 3(c) (2), that to the best of my knowledge and behef, the damages recoverable m th1:;               C!Vl)   action case
              xceed the sum of$150,000 00 exclusive of interest and costs.



                                                                     Al~,,~
                  ehef other than monetary damages is sought


              rG9/2018
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                                                                      Attorney-at-Law I Pro Se Plaintiff
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                                                                                                                                       Attorney ID    # (if appltcable)

NOH, A tnal de novo will be a tnal by Jury only 1f there has been compliance with F RC P 38                                                NDV 13                  2fff~
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             Case 2:18-cv-04907-JHS Document 1 Filed 11/13/18 Page 3 of 12
                        IN THE UNITED ST ATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                     CASE MANAGEMENT TRACK DESIGNATION FORM

OWEN HARTY                                             CIVIL ACTION
                                                       NO.
                       V.

DINA VEL AMERICA, LLC, and
                                                                            18           4907
BARCLAY LAND, LP

In accordance with the Civil Justice Expense and Delay Reduction Plan of this court, counsel for
plaintiff shall complete a Case Management Track Designation Form in all civil cases at the time of
filing the complaint and serve a copy on all defendants. (See § 1:03 of the plan set forth on the reverse
side of this form.) In the event that a defendant does not agree with the plaintiff regarding said
designation, that defendant shall, with its first appearance, submit to the clerk of court and serve on the
plaintiff and all other parties, a Case Management Track Designation Form specifying the track to which
that defendant believes the case should be assigned.

SELECT ONE OF THE FOLLOWING CASE MANAGEl\fENT TRACKS:

(a) Habeas Corpus·- Cases brought under 28 U.S.C. § 2241through§2255.                                 ( )
(b) Social Security - Cases requesting review of a decision of the Secretary of Health
    and Human Services denying plaintiff Social Security Benefits.                                    ( )
(c) Arbitration - Cases required to be designated for arbitration under Local Civil Rule 53.2.         ( )
( d) Asbestos - Cases involving claims for personal injury or property damage from
     exposure to asbestos.                                                                            ( )
(e) Special Management - Cases that do not fall into tracks (a) through (d) that are
    commonly referred to as complex and that need special or intense management by
    the court. (See reverse side of this form for a detailed explanation of special
    management cases.)

(f) Standard Management - Cases that do not fall into any one of the other tracks.


November 9, 2018                                                        Plaintiff, Owen Harty

Date                                                                      Attorney for


(610) 952-0219                  (954)237-1990                          johnfward@gmail.com

Telephone                           FAX Number                            E-Mail Address


(Civ. 660) 10/02




                                                                                     NOV 13 2018
          Case 2:18-cv-04907-JHS Document 1 Filed 11/13/18 Page 4 of 12
                                }OHNF. WARD
                                      THOMAS B. BACON, P.A.
                                          200 Country Club Rd.
                                          Royersford, PA 19468
                                   (610) 952-0219 Fax (610) 337-4374



                                        November 9, 2018


                                                                           18    4907
Clerk's Office
United States District Court
601 Market Street, Room 2609
Philadelphia, PA 19106-1 797

Re:   Owen Harty v. Dinavel America. LLC. et al.

Dear Clerk:

       Enclosed for filing in the referenced matter are the following:

       Complaint & Summons
       Civil Cover Sheet
       Designation Form (2 copies)
       Civil Case .Management Track Designation Form
       CD-ROM
       Filing Fee of $400

       Please return the summons to me in the enclosed self-addressed stamped envelope.

       Thank you.



                                                       Very truly yours,


                                                      A\-e_r-~
                                                      UF.Ward

JFW:jfw
Enclosures
          Case 2:18-cv-04907-JHS Document 1 Filed 11/13/18 Page 5 of 12



                            UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF PENNSYLVANIA

OWEN HARTY, Individually,                     :
                                              :
       Plaintiff,                             :
                                              :
v.                                            :          Case No.
                                              :
DINAVEL AMERICA, LLC, A Pennsylvania          :
Limited Liability Company, and BARCLAY        :
LAND, LP, A Pennsylvania Limited Partnership, :
                                              :
       Defendants.                            :
_______________________________________ :

                                          COMPLAINT
                             (Injunctive And Other Relief Demanded)

   Plaintiff, OWEN HARTY, Individually, on his behalf and on behalf of all other individuals

similarly situated, hereby sues Defendants, DINAVEL AMERICA, LLC, A Pennsylvania

Limited Liability Company, and BARCLAY LAND, LP, A Pennsylvania Limited Partnership,

for Injunctive Relief, and attorneys' fees, litigation expenses, and costs pursuant to the Americans

with Disabilities Act, 42 U.S.C. § 12181 et seq. (“ADA”).

1. Plaintiff is a Florida resident, lives in Broward County, is sui juris, and qualifies as an

   individual with disabilities as defined by the ADA. Plaintiff is paralyzed from the waist

   down and is bound to ambulate in a wheelchair. Plaintiff travels frequently to the

   Philadelphia metropolitan area to visit his family, attend gun shows, and maintain his

   business and client contacts.

2. Defendants' property, Barclay Square Shopping Center ("Barclay Square"), 1500 Garrett Rd.,

   Upper Darby, PA 19082, is located in the County of Delaware .
          Case 2:18-cv-04907-JHS Document 1 Filed 11/13/18 Page 6 of 12



3. Venue is properly located in the EASTERN DISTRICT OF PENNSYLVANIA because

   venue lies in the judicial district of the property situs. Defendants' property is located in and

   does business within this judicial district.

4. Pursuant to 28 U.S.C. § 1331 and 28 U.S.C. § 1343, this Court has been given original

   jurisdiction over actions which arise from Defendants' violations of Title III of the Americans

   with Disabilities Act, 42 U.S.C. § 12181 et seq. See also 28 U.S.C. §§ 2201 and 2202.

5. Plaintiff has visited the property which forms the basis of this lawsuit and plans to return to

   the property to avail himself of the goods and services offered to the public at the property,

   and to determine whether the property has been made ADA compliant. Plaintiff has

   encountered architectural barriers at the subject property which discriminate against him on

   the basis of his disability and have endangered his safety. These barriers also prevent

   Plaintiff from returning to the property to enjoy the goods and services available to the

   public. Plaintiff is also a tester for the purpose of asserting his civil rights and monitoring,

   ensuring, and determining whether places of public accommodation are in compliance with

   the ADA.

6. Plaintiff has suffered and will continue to suffer direct and indirect injury as a result of

   Defendants' discrimination until Defendants are compelled to comply with the requirements

   of the ADA. Plaintiff is deterred from, and is denied the opportunity to participate and

   benefit from the goods, services, privileges, advantages, facilities and accommodations at

   Defendants' property equal to that afforded to other individuals. Plaintiff is aware that it

   would be a futile gesture to attempt to visit Defendants' property if he wishes to do so free of

   discrimination.


                                                  2
          Case 2:18-cv-04907-JHS Document 1 Filed 11/13/18 Page 7 of 12



7. Defendants own, lease, lease to, or operate a place of public accommodation as defined by

   the ADA and the regulations implementing the ADA, 28 CFR 36.201(a) and 36.104.

   Defendants are responsible for complying with the obligations of the ADA. The place of

   public accommodation that Defendants own, operate, lease or lease to is known as Barclay

   Square Shopping Center, 1500 Garrett Rd., Upper Darby, PA 19082.

8. Plaintiff has a realistic, credible, existing and continuing threat of discrimination from

   Defendants' non-compliance with the ADA with respect to this property as described, but not

   necessarily limited to, the allegations in paragraph 10 of this Complaint. Plaintiff has

   reasonable grounds to believe that he will continue to be subjected to discrimination in

   violation of the ADA by Defendants. Plaintiff desires to visit Barclay Square not only to

   avail himself of the goods and services available at the property, but also to assure himself

   that this property is in compliance with the ADA so that he and others similarly situated will

   have full and equal enjoyment of the property without fear of discrimination.

9. Defendants have discriminated against Plaintiff by denying him access to, and full and equal

   enjoyment of, the goods, services, facilities, privileges, advantages and/or accommodations

   of the subject property, as prohibited by 42 U.S.C. § 12182 et seq.

10. Defendants have discriminated, and are continuing to discriminate, against Plaintiff in

   violation of the ADA by failing to, inter alia, have accessible facilities by January 26, 1992

   (or January 26, 1993, if Defendants have 10 or fewer employees and gross receipts of

   $500,000 or less). A preliminary inspection of Barclay Square has shown that violations

   exist. These violations include, but are not limited to:




                                                 3
  Case 2:18-cv-04907-JHS Document 1 Filed 11/13/18 Page 8 of 12



A. Defendant fails to adhere to a policy, practice and procedure to ensure that all goods,

   services and facilities are readily accessible to and usable by the disabled.

B. Defendant fails to maintain its features to ensure that they are readily accessible and

   usable by the disabled.

C. There is a lack of compliant, accessible route connecting the disabled parking spaces

   with all the goods, services and facilities of the property, with padlocked gate,

   excessive slopes, non-compliant curb approaches, obstructions, narrow or blocked

   passageways, lack of sufficient maneuvering space, lack of required clear floor

   spaces, non-compliant ramps, inaccessible merchandise, and narrow merchandise

   aisles. Defendants' failure to provide a compliant accessible route connecting all

   essential elements of the facilities makes it difficult, unsafe and/or impossible for

   Plaintiff to access the goods and services offered at the shopping center.

D. There is an insufficient number of compliant parking spaces and access aisles, with

   excessive slopes, missing signage, lack of compliant signage, and obstructions. The

   lack of compliant parking makes it difficult, unsafe and/or impossible for Plaintiff to

   locate accessible parking, transfer from his vehicle to his wheelchair and access the

   shopping center.

E. There are non-compliant restrooms, with inaccessible sinks, unwrapped pipes, poorly

   wrapped pipes, pipe wrapping falling off, improperly located amenities, inaccessible

   commodes, lack of compliant grab bars, missing grab bars, and flush controls on

   wrong side. The non-compliant, violative and inaccessible features in the public




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           restrooms make it difficult or impossible for Plaintiff to use the restrooms for their

           intended purpose.

11. The discriminatory violations described in paragraph 10 are not an exclusive list of

   Defendants' ADA violations. Plaintiff requires an inspection of Defendants' place of public

   accommodation in order to photograph and measure all of the discriminatory acts violating

   the ADA and all of the barriers to access. Plaintiff, and all other individuals similarly

   situated, have been denied access to, and have been denied the benefits of services, programs

   and activities of Defendants' buildings and facilities, and have otherwise been discriminated

   against and damaged by Defendants because of Defendants' ADA violations, as set forth

   above. Plaintiff and all others similarly situated will continue to suffer such discrimination,

   injury and damage without the immediate relief provided by the ADA as requested herein. In

   order to remedy this discriminatory situation, Plaintiff requires an inspection of Defendants'

   place of public accommodation in order to determine all of the areas of non-compliance with

   the Americans with Disabilities Act.

12. Defendants have discriminated against Plaintiff by denying him access to full and equal

   enjoyment of the goods, services, facilities, privileges, advantages and/or accommodations of

   their place of public accommodation or commercial facility in violation of 42 U.S.C. § 12181

   et seq. and 28 CFR 36.302 et seq. Furthermore, Defendants continue to discriminate against

   Plaintiff and all those similarly situated by failing to make reasonable modifications in

   policies, practices or procedures, when such modifications are necessary to afford all offered

   goods, services, facilities, privileges, advantages or accommodations to individuals with

   disabilities, and by failing to take such efforts that may be necessary to ensure that no


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   individual with a disability is excluded, denied services, segregated or otherwise treated

   differently than other individuals because of the absence of auxiliary aids and services.

13. Plaintiff is without adequate remedy at law and is suffering irreparable harm. Plaintiff has

   retained the undersigned counsel and is entitled to recover attorneys' fees, costs and litigation

   expenses from Defendants pursuant to 42 U.S.C. § 12205 and 28 CFR 36.505.

14. Defendants are required to remove the existing architectural barriers to the physically

   disabled when such removal is readily achievable for their place of public accommodation

   that have existed prior to January 26, 1992. See 28 CFR 36.304(a). In the alternative, if there

   has been an alteration to Defendants' place of public accommodation since January 26, 1992,

   then Defendants are required to ensure, to the maximum extent feasible, that the altered

   portions of the facility are readily accessible to and useable by individuals with disabilities,

   including individuals who use wheelchairs. See 28 CFR 36.402. Finally, if Defendants'

   facility is one which was designed and constructed for first occupancy subsequent to January

   26, 1993, as defined in 28 CFR 36.401, then Defendants' facility must be readily accessible to

   and useable by individuals with disabilities as defined by the ADA.

15. Notice to Defendants is not required as a result of Defendants' failure to cure the violations

   by January 26, 1992 (or January 26, 1993, if Defendants have 10 or fewer employees and

   gross receipts of $500,000 or less). All other conditions precedent have been met by Plaintiff

   or waived by Defendants.

16. Pursuant to 42 U.S.C. § 12188, this Court is provided with authority to grant Plaintiff

   Injunctive Relief, including an order to require Defendants to alter Barclay Square to make

   those facilities readily accessible and useable to Plaintiff and all other persons with


                                                 6
        Case 2:18-cv-04907-JHS Document 1 Filed 11/13/18 Page 11 of 12



   disabilities as defined by the ADA, or by closing the facility until such time as Defendants

   cure their violations of the ADA.

WHEREFORE, Plaintiff respectfully requests:

   a. The Court issue a Declaratory Judgment that determines that Defendants at the

      commencement of the subject lawsuit are in violation of Title III of the Americans with

      Disabilities Act, 42 U.S.C. § 12181 et seq.

   b. The Court issue all remedies available under 42 U.S.C. Sections 12188 and 2000a-3(a)

      including but not limited to preventive relief, permanent or temporary injunction, restraining

      order, or other order, as the Court deems just and proper.

   c. The Court issue injunctive relief against Defendants, including an Order

              (i) requiring the Defendants to make all readily achievable alterations to the Property

      and to the facility operated thereon so that the Property and such facility are made readily

      accessible to and usable by individuals with disabilities to the extent required by the ADA;

              (ii) requiring the Defendants to make reasonable modifications in policies, practices

      or procedures as are necessary to afford all offered goods, services, facilities, privileges,

      advantages or accommodations to individuals with disabilities;

              (iii) requiring the Defendants to take such steps as are necessary to ensure that no

      individual with a disability is excluded, denied services, segregated or otherwise treated

      differently than other individuals because of the absence of auxiliary aids and services; and

              (iv) prohibiting the Defendants from perpetuating any acts and practices which result

      in the exclusion, denial of service to or discriminatory treatment of individuals with

      disabilities.


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   c. An award of attorneys' fees, costs and litigation expenses pursuant to 42 U.S.C. § 12205.

   d. Such other relief as the Court deems just and proper, and/or is allowable under Title III of

      the Americans with Disabilities Act.

                                     Respectfully Submitted,

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